
305 S.E.2d 734 (1983)
Shirley K. HUTCHENS, et al.
v.
Cicero HANKINS and wife, Martha Hankins, T/A Younger Brothers Lounge, Donny Ray Fletcher and Weldon Everett.
No. 367P83.
Supreme Court of North Carolina.
August 9, 1983.
Albert J. Post, Benjamin R. Wrenn, Reidsville, for defendants.
Bethea, Robinson, Moore &amp; Sands, Reidsville, for plaintiff.
Defendant's petition for discretionary review, 63 N.C.App. 1, 303 S.E.2d 584, under G.S. § 7A-31. Denied.
